Case No. 1:16-cv-02304-WJM-GPG Document 498 filed 04/20/19 USDC Colorado pg 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-02304-WJM-GPG

   Megan McFadden,
   Lonnie White, and
   Antonio “A.J.” White,

         Plaintiffs,
   v.

   Meeker Housing Authority, a governmental entity,

         Defendant.


                             STIPULATED NOTICE OF SETTLEMENT


         The Parties, through their respective counsel, pursuant to the Court’s Practice

   Standard IV.C.2, notify the Court as follows:

          (i)     a settlement has been reached by all parties;

          (ii)    a meeting of the minds has been reached as to all material terms of the

                  settlement; and

          (iii)   the settlement will finally and fully resolve all remaining claims in this

                  action.

         The Parties accordingly request that the Court vacate the five-day jury trial of this

   case, set to begin May 6, 2019, and all attendant deadlines, including all deadlines

   imposed at the Final Trial Preparation Conference (see Doc. 494).
Case No. 1:16-cv-02304-WJM-GPG Document 498 filed 04/20/19 USDC Colorado pg 2 of 2




         Respectfully submitted this 20th day of April 2019,

   s/ Laura B. Wolf                               ATTORNEYS FOR PLAINTIFFS
   Laura B. Wolf                                      s/ Jon F. Sands
   Siddhartha Rathod                                  Jon F. Sands
   Qusair Mohamedbhai                                 Marilyn S. Chappell
   Matthew J. Cron                                    Reagan Larkin
   RATHOD │ MOHAMEDBHAI LLC                           Sweetbaum Sands Anderson PC
   2701 Lawrence Street, Suite 100                    1125 17th Street, Suite 2100
   Denver, CO 80205                                   Denver, Colorado 80202
   (303) 578-4400 (telephone)                         Phone: (303) 296-3377
   (303) 578-4401 (fax)                               jsands@sweetbaumsands.com
   lw@rmlawyers.com                                   mchappell@sweetbaumsands.com
   sr@rmlawyers.com                                   rlarkin@sweetbaumsands.com
   qm@rmlawyers.com
   mc@rmlawyers.com                                    ATTORNEYS FOR DEFENDANT

   ATTORNEYS FOR PLAINTIFFS




                                              2
